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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                     CHIEF MAGISTRATE JUDGE JOSEPH C. SPERO

                                    ZOOM CIVIL MINUTES



 Case No.: 18-cv-01586-JSC (JCS)
Case Name: In Re: Pacific Fertility Center Litigation

 Date: December 6, 2022                          Time: 7 Hours
 Deputy Clerk: Karen Hom                         Court Reporter: Not Reported

Attorney for Plaintiff: See Attached
Attorney for Defendant: See Attached


                                    ZOOM PROCEEDINGS

()     Zoom Settlement Conference

       ( ) Case Settled        ( ) Case Did Not Settle        ( ) Partial Settlement

(X)    Further Zoom Settlement Conference - Held

       ( ) Case Settled        ( ) Case Did Not Settle        ( ) Partial Settlement

( )    Zoom Scheduling Conference to set Settlement Conference

( )    Further Zoom Settlement Conference

( )    Discovery Conference – Lead Trial Counsel Meet and Confer

( )    Zoom Status Conference

( )    Other

Notes:
Further settlement conference, counsel only for all parties and all insurance carriers, set for
12/20/2022 at 10:30 AM by Zoom. Zoom Meeting ID: 161 664 4640. Passcode: 841312.
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                                  3:18-cv-01586-JSC (JCS)
                           In re Pacific Fertility Center Litigation
               Attendance List for December 6, 2022 Settlement Conference


  Counsel on Behalf of                      Firm Name
   Trial and Federal
       Plaintiffs

Dena Sharp                   Girard Sharp LLP

Adam Polk                    Girard Sharp LLP

Amy Zeman                    Gibbs Law Group LLP

Geoffrey Munroe              Gibbs Law Group LLP

Adam Wolf                    Peiffer Wolf Carr Kane Conway &
                             Wise, LLP

Joe Peiffer                  Peiffer Wolf Carr Kane Conway &
                             Wise, LLP

Tracey Cowan                 Peiffer Wolf Carr Kane Conway &
                             Wise, LLP

  Counsel on Behalf of                      Firm Name
  State Court Plaintiffs

Doris Cheng                  Walkup, Melodia Kelly + Schoenberger

Mike Kelly                   Walkup, Melodia Kelly + Schoenberger

Sarah R. London              Lieff Cabraser Heimann & Bernstein
                             LLP

Tiseme Zegeye                Lieff Cabraser Heimann & Bernstein
                             LLP

Anne Marie Murphy            Cotchett Pitre McCarthy LLP

   Counsel / Client on                      Firm Name
   Behalf of Defendant
          Chart
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Molly Lane                 Morgan, Lewis & Bockius LLP

Austin Bersinger           Barnes & Thornburg, LLP

John Duffy                 Swanson Martin Bell LLP

Herb Hotchkiss             Chart Industries

Laura Ashby                Chart Industries

  Counsel / Client on                     Firm Name
 Behalf of Insurer Starr
 Indemnity & Liability

Travis Wall                Kennedys CMK LLP

Gary Kull                  Kennedys CMK LLP

Tara McCormack             Kennedys CMK LLP

Judy F. Marotti            Starr Adjustment Services, Inc.

Counsel / Client on        Insurer / Firm Name
Behalf of Other Insurers
in the Tower

Angel Muth                 The Hartford

Terese Kerrigan            Zurich

AJ Patel                   Allianz

Jennifer Elson             AXA XL

Brad Harding               Great American, represented by Clyde
                           & Co.

Sean Simpson               Great American, represented by Clyde
                           & Co.

Guy Gruppie                Liberty Mutual, represented by
                           Murchison & Cumming, LLP

Georgiana Nikias           Liberty Mutual, represented by
                           Murchison & Cumming, LLP
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Caroline Speranza      Travelers

Tracey Seitz           Travelers
